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8                            UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
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11   STEPHEN TURNER, an individual            )   Case No.: 2:21-cv-05659-PA-E
                                              )
12              Plaintiff,                    )   ORDER RE STIPULATION OF
                                              )
13        vs.                                 )   VOLUNTARY DISMISSAL
                                              )   WITH PREJUDICE
14   THE BICYCLE CASINO, L.P., a              )
     California limited partnership,          )
15                                            )
                                              )   [Hon. Percy Anderson presiding]
16              Defendants.                   )
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                                       [PROPOSED] ORDER
                                        2:21-CV-05659-PA-E
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           Pursuant to the parties’ “Stipulation of Voluntary Dismissal with Prejudice,”
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     and good cause appearing therefore, IT IS HEREBY ORDERED that the above-
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     captioned action shall be dismissed with prejudice. Each party shall bear his or its
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     own costs and attorney’s fees.
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8          IT IS SO ORDERED

9    Dated: October 27, 2021                      ________________________________
10                                                          Percy Anderson
                                                       United States District Judge
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                                        [PROPOSED] ORDER
                                         2:21-CV-05659-PA-E
